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                            UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA

__________________________________________
                                          :
JAN HANUS,                                :
                                          :
      Plaintiff,                          :
                                          :
v.                                        :                 Civil Action No.:
                                          :
VIOLENT HUES PRODUCTIONS, LLC, and        :                 COMPLAINT AND JURY
FERNANDO MICO,                            :                 DEMAND
                                          :
      Defendants.                         :
                                          :
__________________________________________:


                        COMPLAINT FOR COPYRIGHT INFRINGEMENT

        Plaintiff, JAN HANUS (“Hanus” or “Plaintiff”), brings this complaint in the United

States District Court for the Eastern District of Virginia against VIOLENT HUES

PRODUCTIONS, LLC (“Violent Hues”), and FERNANDO MICO (“Mico”) (together

“Defendants”), alleging as follows:


                                           PARTIES

1. Hanus is an award-winning and internationally-published photographer and art director with

    twenty years of experience in digital and film photography, desktop publishing, and printing

    techniques. Hanus resides in Reston, Virginia.

2. On information and belief, Violent Hues is a Limited Liability Company existing under the

    laws of the Commonwealth of Virginia, with headquarters in Alexandria, Virginia. Violent

    Hues provides the following film-related services: script review, budgeting, shooting,




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      lighting, visual effects, editing, color grading, DVD authoring, and web preparation.1 Violent

      Hues owns, operates, and is solely responsible for content displayed on the commercial

      websites www.violenthues.com, and www.novafilmfest.com.

3. On information and belief, Mico is an individual and serves as Executive Director of the

      Northern Virginia (NOVA) International Film and Music Festival.2 Mico owns, operates,

      and is solely responsible for content displayed on the commercial websites

      www.violenthues.com, and www.novafilmfest.com.


                                      JURISDICTION AND VENUE

4. This is a civil action seeking damages for copyright infringement under the copyright laws of

      the United States (17 U.S.C. § 101 et seq.).

5. This Court has jurisdiction under 17 U.S.C. § 101 et seq.; 28 U.S.C. § 1331 (federal

      question); and 28 U.S.C. § 1338(a) (copyright).

6. Jurisdiction and venue are proper in this district under 28 U.S.C. § 1391(b) and (c) and

      1400(a) because the events giving rise to the claims occurred in this district, Defendants

      engaged in infringement in this district, Defendants reside in this district, and Defendants are

      subject to personal jurisdiction in Virginia and this district.


                     FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS

7. Hanus captured the photograph, “Boeing B-29 Superfortress Enola Gay” (“Copyrighted

      Photograph”) on October 10, 2011 at the Steven F. Udvar-Hazy Center in Chantilly, Virginia.

      [Exhibit 1].




1   www.violenthues.com/OurServices.html
2   Id.

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8. On or about November 1, 2011, Hanus posted Copyrighted Photograph to the following

    URL:

    • www.123rf.com/stockphoto/enola_gay.html?imgtype=0&oriSearch=boeing&sti=mom1o6

      5nb5l7q5mi1c%7C&mediapopup=11988161 (“123rf Post”) (Last visited November 10,

      2019). [Exhibit 2].

9. 123rf Post detailed above included the following text, “Editorial Use Only: This image can

    only be used for editorial purposes. Use of this image in advertising, commercial, or for

    promotional purposes is prohibited unless additional clearances are secured by the licensee.

    123RF.com does not provide any clearance services,” immediately below Copyrighted

    Photograph. [Exhibit 2].

10. Copyrighted Photograph included a full-image, diagonal watermark with the 123RF logo.

    [Exhibit 2].

11. Beginning on or about December 1, 2016, Defendants copied and posted Copyrighted

    Photograph, including the watermark, to the Defendants’ commercial website,

    www.novafilmfest.com (Last visited January 10, 2018).

12. Defendants posted Copyrighted Photograph to the following URL:

    • www.novafilmfest.com/plan-your-visit1 (Last visited January 10, 2018). [Exhibit 3].

13. Plaintiff registered Copyrighted Photograph with the United States Copyright Office on

    November 24, 2017 (Registration No.: VAu 1-302-275). [Exhibit 4].


  COUNT I: INFRINGEMENT OF COPYRIGHT PURSUANT TO 17 U.S.C. §101 ET SEQ.

14. Plaintiff incorporates herein by this reference each and every allegation contained in each

    paragraph above.




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15. Plaintiff is and at all relevant times has been, the copyright owner or licensees of exclusive

    rights under United States copyright with respect to Copyrighted Photograph, which is the

    subject of a valid and complete application before the United States Copyright Office for

    Certificate of Copyright Registration by the Register of Copyrights.

16. Among the exclusive rights granted to Plaintiff under the Copyright Act are the exclusive

    rights to reproduce and distribute Copyrighted Photograph to the public.

17. Plaintiff is informed and believes that Defendants, without the permission or consent of

    Plaintiffs, copied and displayed the Copyrighted Photograph on Defendants’ commercial

    website, www.novafilmfest.com. In doing so, Defendants violated Plaintiff’s exclusive rights

    of reproduction and distribution. Defendants’ actions constitute infringement of Plaintiff’s

    copyright and exclusive rights under copyright.

18. Plaintiff is informed and believes that the foregoing act of infringement was willful and

    intentional, in disregard of and with indifference to the rights of Plaintiff.

19. Upon information and belief, Mico is the dominant influence at Violent Hues, and

    determined and/or directed the policies that led to the infringements complained of herein.

    Accordingly, Mico is jointly and severally liable for any direct copyright infringement

    committed by Violent Hues. See Broad. Music, Inc. v. It’s Amore Corp., No. 3:08CV570,

    2009 WL 1886038 (M.D. Pa. June 30, 2009), citing Sailor Music v. Mai Kai of Concord,

    Inc., 640 F. Supp. 629, 634 (D.N.H.1984). Upon further information and belief, Mico

    maintained the right and ability to control the infringing activities of Violent Hues, and had a

    direct financial interest in those activities by virtue of his equity ownership in the companies.

    Accordingly, Mico is vicariously liable for any copyright infringement committed by Violent




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    Hues. See, e.g., Broad. Music, Inc. v. Tex Border Mgmt., 11 F. Supp. 3d 689, 693-94 (N.D.

    Tex. 2014).

20. As a result of Defendants’ infringement of Plaintiff’s copyrights and exclusive rights under

    copyright, Plaintiff is entitled to actual damages, including any profits realized by

    Defendants attributable to the infringements, pursuant to 17 U.S.C. § 504(b) for Defendant’s

    infringement of Copyrighted Photograph.


       COUNT II: REMOVAL AND ALTERATION OF INTEGRITY OF COPYRIGHT
          MANAGEMENT INFORMATION PURSUANT TO 17 U.S.C. §1202

21. Plaintiff is informed and believe that Defendants, without the permission or consent of

    Plaintiff, knowingly and with the intent to conceal infringement, intentionally removed the

    copyright management information from Plaintiff’s Copyrighted Photograph before

    displaying Copyrighted Photograph on Defendants’ commercial website,

    www.novafilmfest.com. In doing so, Defendant violated 17 U.S.C. § 1202(a)(1) and (b)(1).

22. As a result of Defendants’ actions, Plaintiff is entitled to actual damages or statutory

    damages pursuant to 17 U.S.C. § 1203(c). Plaintiff is further entitled to his attorneys’ fees

    and costs pursuant to 17 U.S.C. § 1203(b)(5).


                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for judgment against Defendant as follows:

A. Declaring that Defendants’ unauthorized conduct violates Plaintiff’s rights under the Federal

    Copyright Act;

B. Immediately and permanently enjoining Defendants, their officers, directors, agents,

    servants, employees, representatives, attorneys, related companies, successors, assigns, and

    all others in active concert or participation with them from copying and republishing


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    Plaintiff’s Copyrighted Photograph without consent or otherwise infringing Plaintiff’s

    copyright or other rights in any manner;

C. Ordering Defendants to account to Plaintiff for all gains, profits, and advantages derived by

    Defendant by their infringement of Plaintiff’s copyright or such damages as are proper;

D. Awarding Plaintiffs actual and/or statutory damages for Defendants’ copyright infringement

    in an amount to be determined at trial;

E. Awarding Plaintiffs their costs, reasonable attorneys’ fees, and disbursements in this action,

    pursuant to 17 U.S.C. § 1203(b)(3), and § 1203(b)(5); and

F. Awarding Plaintiffs such other and further relief as is just and proper.


                                          JURY DEMAND

        Plaintiff hereby demand a trial by jury on all claims for which there is a right to jury trial.



Dated: November 1ß3, 2019                              ___/s/____David C. Deal____________
                                                       David C. Deal (VA Bar No.: 86005)
                                                       The Law Office of David C. Deal, P.L.C.
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                                                       Crozet, VA 22932
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                                                       Counsel for Plaintiff




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                                      EXHIBIT 1




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                                      EXHIBIT 2




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                                      EXHIBIT 3




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                                      EXHIBIT 4




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